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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

ERIC MAGLIONE, individually and on behalf
of all others similarly situated,
                                                      Case No.: 3:25-cv-00821-SRU
       Plaintiff,

v.

YALE NEW HAVEN HEALTH SYSTEM,
                                                      Judge Stefan R. Underhill
       Defendant.


     DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
      ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S CLASS ACTION
                            COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 6(b)(1), and Local Rule 7(b), Defendant Yale

New Haven Health Services Corporation (“YNHHS”), incorrectly named in the Complaint as Yale

New Haven Health System, respectfully moves this Court to extend the time to file the answer or

otherwise respond to Plaintiff Eric Maglione’s (“Plaintiff”) Class Action Complaint

(“Complaint”). This is Defendant’s first request for an extension of time and Plaintiff consents to

the requested relief. YNHHS states the following as good cause in support of its request:

       1.      Plaintiffs’ Complaint was filed on May 23, 2025. See ECF No. 1.

       2.      Defendant was served on June 2, 2025. See ECF No. 13.

       3.      Pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i), YNHHS’s deadline to answer or

otherwise respond to the Complaint is June 23, 2025, which has not yet passed.

       4.      Counsel for YNHHS has been diligently working to gather necessary information

needed to respond to the issues raised in Plaintiff’s Complaint, but the legal issues to be addressed

are complex and require due diligence that cannot be completed before the deadline.




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        5.     Additionally, counsel for YNHHS and counsel for Plaintiff have been engaged in

ongoing discussions to explore the possibility for consolidation of this case with other related cases

filed with this Court.

        6.     A Notice of Consolidation was filed on April 22, 2025 in Nathanson v. Yale New

Haven Health Services Corp., Case No. 3:25-cv-00609-SRU (D. Conn.), the first-filed related

case.

        7.     On June 11, 2025, the Parties participated in a telephonic global status conference

with the Court. During that status conference, Attorney Jeff Ostrow, Nathanson’s counsel,

“indicated there were discussions about the other plaintiffs potentially participating in a

consolidated Nathanson case. He communicated that the tentative plan involved the subsequent

plaintiffs voluntarily dismissing their cases and those plaintiffs then filing an amended,

consolidated complaint in Nathanson’s case.” See ECF No. 16.

        8.     In accordance with the representations made to the Court at the status conference,

YNHHS seeks an extension to give Plaintiff additional time to discuss potentially participating in

a consolidated Nathanson case, and, if so, voluntarily dismissing this case.

        9.     For these reasons, YNHHS seeks a 30-day extension of time until July 23, 2025, in

which to answer or otherwise respond to Plaintiff’s Complaint.

        10.    This is YNHHS’s first request for an extension. This extension will not cause any

prejudice and will allow the parties to focus their time and resources on potential consolidation of

these related cases.

        11.    Counsel for YNHHS conferred with Plaintiff’s counsel and confirmed they do not

oppose the relief requested in this motion.




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       For the reasons set forth above, and in the interest of judicial economy, YNHHS

respectfully requests that this Court grant an extension of time until July 23, 2025 to file its

response to Plaintiff’s Complaint.




Dated: June 23, 2025                             Respectfully submitted,

                                                 BAKER & HOSTETLER LLP


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                                                       Health Services Corporation




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2025, I caused to be electronically filed the foregoing using

the CM/ECF system, which will send notification of such filing to all counsel of record.




                                                          /s/ Philip H. Bieler
                                                          Philip H. Bieler




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